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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re:                                           )     Chapter 7
                                                 )     Case No. 19-19599
JEFFREY A. ZDZIARSKI,                            )
                                                 )     Judge Deborah L. Thorne
                      Debtor.                    )
                                                 )     Date: March 3, 2020
                                                 )     Time: 9:30 a.m.

   NOTICE OF MOTION TO (I) DISMISS DEBTOR WITH NOTICE UNDER LOCAL
     RULE 2002-1 AND REQUEST HEARING, AND (II) VACATE DISCHARGE

To:      SEE ATTACHED SERVICE LIST

         PLEASE TAKE NOTICE that on March 3, 2020 at 9:30 a.m., or as soon thereafter as

counsel may be heard, we shall appear before the Honorable Deborah L. Thorne or any judge

sitting in her stead, in Courtroom 613 in the United States Bankruptcy Court for the Northern

District of Illinois, 219 South Dearborn Street, Chicago, Illinois, and present the Motion to (i)

Dismiss Debtor with Notice Under Local Rule 2002-1 And Request Hearing and (ii) Vacate

Discharge, at which time and place you may appear as you see fit.

Dated: February 3, 2020                        N. NEVILLE REID, not individually, but
                                               solely in his capacity as the Chapter 7 Trustee
                                               for the Bankruptcy Estate of JEFFREY A.
                                               ZDZIARSKI

                                               /s/ N. Neville Reid
                                               N. Neville Reid


N. Neville Reid (ARDC #6195837)
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200 West Madison Street, Suite 3000
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                                    CERTIFICATE OF SERVICE

          I, N. Neville Reid, certify that on February 3, 2020, I caused a copy of the foregoing

Motion to (i) Dismiss Debtor with Notice Under Local Rule 2002-1 And Request Hearing

and (ii) Vacate Discharge, to be filed electronically through the Court’s CM/ECF filing system

and to be served upon the attached Service List by the Court’s ECF filing system or first-class

U.S. Mail, as indicated.



                                                     /s/ N. Neville Reid
                                                     N. Neville Reid


                                          SERVICE LIST

Party to receive notice electronically via CM/ECF:

Patrick S Layng, U.S. Trustee
USTPRegion11.ES.ECF@usdoj.gov

Megan Holmes, Semrad Law Firm, LLC
mholmes@semradlaw.com

David M. Siegel, David M. Siegel & Associates
davidsiegelbk@gmail.com

Party to receive notice via postage-prepaid first class U.S. mail:

Jeffrey A. Zdziarski
4930 134th Court, Apt. 301
Creswood, IL 60418




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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In re:                                                )    Chapter 7
                                                      )    Case No. 19-19599
JEFFREY A. ZDZIARSKI,                                 )
                                                      )    Judge Deborah L. Thorne
                           Debtor.                    )
                                                      )    Date: March 3, 2020
                                                      )    Time: 9:30 a.m.


   NOTICE OF MOTION TO (I) DISMISS DEBTOR WITH NOTICE UNDER LOCAL
     RULE 2002-1 AND REQUEST HEARING, AND (II) VACATE DISCHARGE

          N. Neville Reid, not individually but solely in his capacity as chapter 7 trustee (the

“Trustee”) for the bankruptcy estate (the “Estate”) of JEFFREY A. ZDZIARSKI (the “Debtor”),

pursuant to Section 707(a) of Title 11 of the United States Code (the “Bankruptcy Code”), Rules

1017 and 4004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rule 1017-2 of the Local Rules of the United States Bankruptcy Court for the Northern

District of Illinois (the “Local Rules”), submits this motion to dismiss the Debtor’s bankruptcy

case. In support of this Motion, the Trustee respectfully states as follows:

          1.        On July 12, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court for the

Northern District of Illinois (the “Court”). Shortly thereafter, the United States Trustee for the

Northern District of Illinois appointed N. Neville Reid as the Trustee for the Estate.

          2.        The original Chapter 7 meeting of creditors herein was set for August 22, 2019

and subsequently rescheduled for September 16, 2019, then again October 15, 2019; however,

the Debtor failed to appear on both dates. In addition, the Court entered an order granting the

Debtor a discharge on December 19, 2019 (the “Discharge Order”).




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          3.        As a result of the Debtor’s failure to comply with the provisions of the

Bankruptcy Code and submit to appropriate examination, the Trustee is unable to properly and

timely administer the case or to determine whether other grounds for objection to discharge exist

pursuant to duties as set forth in Section 704 of the Bankruptcy Code and therefore requests

dismissal of the case.

          4.        The Trustee further requests that the Court enter an order vacating the Discharge

Order, consistent with dismissal of the case.

          WHEREFORE, the Trustee prays for entry of an order dismissing this Chapter 7 Case

and vacating the Discharge Order.


Dated: February 3, 2020                             Respectfully submitted,

                                                    N. NEVILLE REID, not individually, but
                                                    solely in his capacity as the Chapter 7 Trustee
                                                    for the Bankruptcy Estate of JEFFREY A.
                                                    ZDZIARSKI

                                                    By:    /s/ N. Neville Reid

N. Neville Reid (ARDC #6195837)
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